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14                                         UNITED STATES DISTRICT COURT

15                                       NORTHERN DISTRICT OF CALIFORNIA

16                                               OAKLAND DIVISION

17 NARCISO FUENTES, individually, on behalf              Case No. 4:16-cv-02001-JSW
   of others similarly situated, and on behalf of
18 the general public,                                   JOINT CASE MANAGEMENT
                                                         STATEMENT
19                                  Plaintiff,
                                                         Date: January 20, 2023
20             vs.                                       Time: 11:00 a.m.
                                                         Courtroom 5, 2nd Floor (Oakland)
21 DISH NETWORK, L.L.C.; and DOES 1                      Hon. Jeffrey S. White
   through 50, inclusive,
22
                          Defendants.
23 ____________________________________

24             Plaintiff NARCISO FUENTES (“Plaintiff” or “NARCISO FUENTES”) and Defendant
25 DISH NETWORK L.L.C. (“Defendant” or “DISH”) (collectively “the Parties”), by their

26 undersigned counsel, submit this Joint Case Management Statement, pursuant to Federal Rule of
27 Civil Procedure 26 and Civil Local Rule 16-9, and this Court’s December 6, 2022 Order (Dkt. No.

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 1 175) (the “Order”).

 2             In the Order, the Court directed the parties to meet and confer regarding Plaintiff’s

 3 individual monetary relief and briefing schedules for DISH’s motion for reconsideration,

 4 Plaintiff’s request to remand, and Plaintiff’s motion for attorney fees, and to file an updated joint

 5 case management conference statement addressing those issues. After the Order, DISH filed its

 6 motion for leave to file a reconsideration motion. (Dkt. 176). The Court granted the motion and

 7 set a briefing schedule on the reconsideration motion, including a February 3, 2023 opposition

 8 date and a February 10, 2023 reply date. (Dkt. 177).

 9             The parties met and conferred on the remaining issues:

10             1.        Individual Monetary Relief

11        Should DISH’s motion for reconsideration be denied, the parties believe it will be appropriate

12 to enter into a stipulated judgment. The parties have agreed to settle, and will not need to have a

13 trial on, the amount of Plaintiff’s claim for individual monetary relief. Based on Plaintiff’s unique

14 individual circumstances, DISH will agree, as a compromise and to avoid further expense, that

15 Plaintiff may recover damages, including prejudgment interest and costs, in the total amount of

16 $2,590.00. Plaintiff accepts that amount to resolve his claims for individual monetary relief.

17 DISH denies that Plaintiff is entitled to that amount or any amount and is agreeing to that amount

18 without waiving any rights or defenses that might otherwise be available to it in the future or as to
19 any other subscriber.

20             2.        Plaintiff’s Request to Remand

21             If the Court denies DISH’s motion for reconsideration, Plaintiff contends that the Court

22 should remand Plaintiff’s requests for public injunctive relief (as opposed to his claims for

23 individual monetary relief, discussed above) to the Alameda Superior Court due to lack of Article

24 III standing. DISH disagrees that remand is appropriate. The parties were unable to reach

25 agreement on this issue but have agreed on a proposed briefing schedule for the Court’s

26 consideration: if the Court denies DISH’s motion for reconsideration, then Plaintiff will file a
27 motion to remand within fourteen days of the Court’s order. The deadlines for DISH’s opposition

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 1 and Plaintiff’s reply will be set according to Northern District of California Local Rule 7-3.

 2             3.        Plaintiff’s Motion for Attorney Fees

 3             Should the Court deny DISH’s motion for reconsideration and grant Plaintiff’s motion for

 4 remand, Plaintiff does not intend to file a motion for attorney fees before this Court; instead,

 5 Plaintiff intends to file any motion for attorney fees in any remanded Alameda Superior Court

 6 case, which motion will be opposed by DISH.

 7 4.          The January 20, 2023 Case Management Conference

 8             The parties request that the Court continue the case management conference scheduled for

 9 January 20, 2023 at 11:00 am to a date after the Court resolves the motion for reconsideration.

10

11 Dated: January 13, 2023                           HOUSING & ECONOMIC RIGHTS ADVOCATES
                                                     CONN LAW, PC
12

13                                            By:    /s/ Elliot Conn
                                                     ELLIOT CONN
14                                                   Attorneys for Plaintiff NARCISO FUENTES
15

16 Dated: January 13, 2023                           COBLENTZ PATCH DUFFY & BASS LLP

17
                                              By:    /s/ Clifford E. Yin
18                                                   CLIFFORD E. YIN
                                                     Attorneys for Defendant DISH NETWORK L.L.C.
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